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                       Exhibit C
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2/14/2020                                               Stone juror says she 'stands with' the prosecutors - CNN Politics




            Stone juror says she 'stands with' the prosecutors
  By Shimon Prokupecz and Ashley Fantz, CNN
  Updated 7:03 PM ET, Wed February 12, 2020



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                    said she had remained silent about the case for months out of concern for her safety and "politicizing
   the matter."

   But the events this week led to her to post on her Facebook account that she "can't keep quiet any longer." A copy
   of the posting was shared with CNN.        confirmed to CNN that she wrote the post but did not want to discuss it
   further.

   "I want to stand up for Aaron Zelinsky, Adam Jed, Michael Marando, and Jonathan Kravis -- the prosecutors on the
   Roger Stone trial," she wrote in the post that was shared with CNN. "It pains me to see the DOJ now interfere with
   the hard work of the prosecutors. They acted with the utmost intelligence, integrity, and respect for our system of
   justice."

   On Tuesday, all four federal prosecutors who took the case against Stone to trial withdrew after top Justice
   Department officials undercut them and disavowed the government's recommended sentence against Stone.

   The mass withdrawal was set in motion on Monday when the prosecutors from the DC US Attorney's office, who
   are Justice Department employees, wrote in a filing that Stone should be sentenced seven to nine years in prison
   after he was convicted on seven charges last year that came out of Mueller's investigation, including lying to
   Congress and witness tampering.

   In the revised sentencing recommendation, filed Tuesday afternoon, federal prosecutors asked for Stone to still be
   sentenced to prison, but said it should be "far less" than the office had asked for a day earlier. The prosecutors
   declined to say how much time in prison Stone should serve.

   CNN's David Shortell, Evan Perez, Katelyn Polantz, Kaitlan Collins and Jeremy Herb contributed to this report.




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